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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                            Case No. 3:22-cr-23-BJD-MCR

 AARON ZAHN.
 _______________________________/

            DEFENDANT AARON ZAHN’S UNOPPOSED MOTION
                  FOR A SPECIFIC REPORTING DATE

       Defendant Aaron Zahn respectfully moves for an Order effectuating the Court’s

 oral pronouncement granting him 90 days (specifically, October 28, 2024) before

 reporting to the designated Bureau of Prisons (BOP) facility to begin his term of

 imprisonment. The undersigned provided counsel for the Government, Assistant U.S.

 Attorney Tysen Duva, with a draft copy of the motion prior to filing, and the

 Government stated that it takes no position as to the motion.

       On July 30, 2024, the Court pronounced sentence in this matter. At Mr. Zahn’s

 request, the Court allowed him 90 days to report to the facility designated by the BOP.

 The Court also agreed to recommend to the BOP that Mr. Zahn be designated to FCI

 Pensacola and, “as a second choice” FCI Montgomery.

       On August 1, 2024, the written Judgment was filed. Consistent with the oral

 pronouncement, the Judgment includes a recommendation for Mr. Zahn to be

 incarcerated at FCI Pensacola or FCI Montgomery but does not reflect that FCI

 Pensacola be considered as a first choice and FCI Montgomery as a second choice.



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       Similarly, the Judgment states, “[T]he defendant shall surrender for service of

 sentence at the institution designated by the Bureau of Prisons no later than 90 days

 from the date of sentencing, as notified by the United States Marshal.” In this regard,

 the judgment is inconsistent with the Court’s oral pronouncement granting Mr. Zahn’s

 request that he be given 90 days before reporting to the designated facility. (Emphasis

 added).

       On August 12, 2024, Mr. Zahn filed a Motion to Correct Judgment (Doc. 547).

 Since the filing of that motion Mr. Zahn has been notified that he is to report to FPC

 Pensacola on September 16, 2024 (well short of the 90 days ordered by the Court but

 making moot the request to prioritize the recommended designations). Additionally,

 Mr. Zahn has been advised that the BOP’s preferred mechanism for effectuating the

 Court’s oral pronouncement granting him 90 days to report to the designated facility

 is for the Court to enter an Order with a specific reporting date.

       As a result of the foregoing, Mr. Zahn respectfully requests that the Court enter

 an Order requiring him to report to FPC Pensacola on October 28, 2024.

                                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 14, 2024, a true copy of the

  foregoing has been electronically filed using the CM/ECF system which will serve

  all registered counsel of record via email.

                                    /s/ A. Brian Albritton
                                   A. Brian Albritton
                                   Counsel for Aaron Zahn




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